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         STEPHEN G. LARSON (SBN 145225)
     1    slarson@larsonobrienlaw.com
         Larson O’Brien LLP
     2   555 South Flower Street, Suite 4400
         Los Angeles, California 90071
     3   Telephone: (213) 436-4888
         Facsimile: (213) 623-2000
     4
         ATTISON L. BARNES, III (admitted pro hac vice)
     5    abarnes@wileyrein.com
         WILEY REIN LLP
     6   1776 K Street, NW
         Washington, DC 20006
     7   Telephone: (202) 719-7000
         Facsimile: (202) 719-7049
     8
         BRIAN C. VANDERHOOF (SBN 248511)
     9   Brian.Vanderhoof@leclairryan.com
         LECLAIRRYAN LLP
    10   725 S. Figueroa Street, Suite 350
         Los Angeles, CA 90017
    11   Telephone: (213) 488-0503
         Facsimile: (213) 624-3755
    12
         Attorneys for Defendant/Counterclaimant
    13   ENTERPRISE SERVICES LLC
    14                         UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
    15
         KST DATA, INC., a California              CASE NO. 2: 17-cv-07927 SJO (SK)
    16   Corporation,
    17               Plaintiff,                    Judge: S. James Otero
    18         vs.                                 Magistrate Judge: Steve Kim

    19   DXC TECHNOLOGY COMPANY, a                 DEFENDANT ENTERPRISE
         Nevada Corporation; ENTERPRISE            SERVICES LLC’S REPLY IN
    20   SERVICES LLC, a Delaware Limited          SUPPORT OF ITS MOTION FOR
         Liability Company; and DOES 1-10,         RECONSIDERATION OF
    21                                             COURT’S MARCH 13 AWARD OF
                    Defendants.                    PRE-JUDGMENT INTEREST
    22   ENTERPRISE SERVICES LLC, a
         Delaware Limited Liability Company,       [Declaration of Attison L. Barnes, III
    23
                     Counterclaimant,              and Exhibits filed concurrently
    24                                             herewith]
               vs.
    25
         KST DATA, INC., a California
    26   Corporation; ARMANDO TAN, an
         individual; and MITCHELL EVANS,
    27   an individual,
    28               Counterdefendants.


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     1         ES’s Motion for Reconsideration respectfully asks this Court to reconsider its
     2   decision to award KST 18% interest based on a disputed “back page” of an invoice,
     3   which was expressly at odds with: (1) the terms of the parties’ written agreements,
     4   which provided that KST could not unilaterally impose additional terms by invoice,
     5   rendering such terms of no effect; (2) controlling California law, which similarly
     6   prohibits one party from varying the terms of a contract through inclusion of
     7   additional terms on an invoice; (3) the lack of any contemporaneous evidence from
     8   either party that the disputed invoice terms were ever transmitted to ES; and (4) the
     9   lack of any contemporaneous evidence that ES ever agreed to the disputed invoice
    10   terms, which under California law KST would be required to show even if KST
    11   could show that the disputed invoice terms had in fact been transmitted to ES.
    12         The effect of the Court’s failure to consider these issues is significant.
    13   Indeed, the application of the 18% interest rate, as well as KST’s claimed attorney’s
    14   fees relying on the same disputed “back page” terms, would force ES to pay nearly
    15   $2.5 million in addition to the $3.5 million already awarded by the Court. Such an
    16   outcome, contrary to the terms of the contract, applicable law, and the actual
    17   evidence in this case, is plainly in error and would result in a manifest injustice.
    18   Therefore, ES respectfully requests that the Court reconsider its decision to award
    19   18% interest based on the disputed “back page” terms.
    20         Oddly, KST devotes nearly half of its opposition to ES’s motion to a
    21   discussion of the parties’ meet-and-confer. This issue was fully briefed before the
    22   Court decided to hear the motion for reconsideration on June 3, 2019. Even if the
    23   issue were not moot, the parties’ positions on KST’s claim to 18% pre-judgment
    24   interest were fixed and known for months before ES filed its motion. By raising
    25   this issue once again, KST engages in an exercise in misdirection, seeking to distract
    26   the Court from the manifest merits of ES’s motion. This Court should not be
    27   distracted from reconsidering its pre-judgment interest award.
    28

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                RECONSIDERATION OF COURT’S MARCH 13 AWARD OF PRE-JUDGMENT INTEREST
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     1 I.      Reconsideration of the Court’s March 13 Order is Warranted Because
               the Court Failed to Address Material Evidence and Controlling Law.
     2
               As set forth above, ES’s motion identifies four legal and factual issues that
     3
         were raised by ES in its original opposition to KST’s Motion for Entry of Judgment,
     4
         but which the Court overlooked when it originally awarded KST 18% interest. Dkt.
     5
         215 at 20-21; see also id. at 8-16; Dkt. 201, pp. 8-9. Because ES originally raised
     6
         these arguments and the Court did not address any of them in its decision, ES
     7
         properly raised these issues in its request for reconsideration, which is appropriate
     8
         for any one of a number of grounds including: (1) a mistake (Rule 60(b)(1)); (2)
     9
         where the court “committed clear error or the initial decision was manifestly unjust”
    10
         (Sch. Dist. No. 1J v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993) and Rule
    11
         59(e)); and (3) for “any other reason that justifies relief” (Rule 60(b)(6)); see also
    12
         L.R. 7-18(c) (allowing for reconsideration upon “a manifest showing of a failure to
    13
         consider material facts presented to the Court before [the] decision”).1
    14
               Although the Court did not address these key issues when it awarded KST
    15
         18% interest, KST nevertheless claims that ES has simply “re-hashed” arguments
    16
         that the Court considered and rejected regarding KST’s submission of “new
    17
         evidence,” and KST’s failure to produce during discovery the disputed back page of
    18
         invoice terms. See Dkt. 223 at 6-7. But neither KST nor the Court have addressed
    19
         the actual issues raised in ES’s Motion:        (1) the terms of the parties’ written
    20
         agreement and purchase orders, which expressly stated that invoice terms were not
    21
         binding; (2) California law, which forbids one party to unilaterally vary contract
    22
         terms through subsequent invoice language; (3) the lack of any contemporaneous
    23
         evidence that the disputed invoice terms were actually submitted to ES, (critically,
    24
         none of the actual invoices produced in discovery by each of KST and ES contained
    25

    26   1
           Alternatively, a district court may relieve a party from a final judgment or order
    27   under Rule 60(b) upon a showing of “extraordinary circumstances” that justify
         relief. ACandS, 5 F.3d at 1263; Fed. R. Civ. P. 60(b).
    28

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     1   the disputed back page; and (4) even assuming the “back page” invoices had been
     2   submitted to ES, the lack of any evidence that ES ever agreed to the disputed
     3   invoice terms. If the Court had considered any one of these key legal and factual
     4   issues when it entered Judgment, it would not have awarded KST 18% interest.
     5         Further, reconsideration is appropriate to prevent the manifest injustice that
     6   would result from allowing KST to reap a windfall of millions of dollars in interest
     7   (plus attorneys’ fees) based on its belatedly-produced documents.           While KST
     8   contends that it disclosed the basis for its claim of 18% interest during discovery
     9   (see Dkt. 223, pp. 2-3, n. 2; see also Dkt. 201-2), the interrogatory response KST
    10   cites does not tell the whole story. KST initially responded to ES’s interrogatory
    11   requesting that KST itemize its damages with a vague assertion that it was entitled
    12   to interest. See Ex. A to the Declaration of Attison L. Barnes, III (“Barnes Decl.”). It
    13   supplemented its response four times over the next four months, first stating that it
    14   was seeking “pre-judgment interest to which it is entitled for each of these invoices
    15   as set forth in California Civil Code § 3289(b)”—a reference to California’s 10%
    16   statutory rate. Barnes Decl. Ex. B2; see also Ex. C (same assertion). While two of
    17   KST’s later supplements referenced 18% instead of 10%, KST consistently stated
    18   under oath that it was seeking “pre-judgment interest to which it is entitled for each
    19   of these invoices as set forth in California Civil Code § 3289(b).” Barnes Decl. Exs.
    20   D & E. These interrogatory responses, setting forth a claimed statutory basis for
    21   interest, stand in sharp contrast to the post-judgment affidavit by Armando Tan on
    22   which KST now relies—alleging for the first time that the 18% interest rate is found
    23   on a previously-undisclosed “back page” of an invoice and attaching only a
    24   “sample” of such a back page. See Dkt. 195-1, ¶ 6 and Ex. 49. If there was indeed a
    25

    26   2
           California Civil Code § 3289(b) states as follows: “If a contract entered into after
    27   January 1, 1986, does not stipulate a legal rate of interest, the obligation shall bear
         interest at a rate of 10 percent per annum after a breach.”
    28

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     1   “back page” as KST now claims, KST’s discovery responses misled ES. The
     2   misdirection is further compounded by the fact that the invoices actually produced
     3   in this matter do not refer to a back page, and by KST’s failure to produce the
     4   alleged “back pages” in discovery.3 Even now, when KST produces a “sample”
     5   back page, it has not produced a back page actually attached to an invoice.
     6         While KST had ample opportunity during discovery to provide evidence of
     7   the alleged 18% interest rate, ES was placed at a significant disadvantage by KST’s
     8   misdirection and the record simply is not developed on either side. Had KST timely
     9   disclosed the alleged “back page” claim during the discovery period, ES would have
    10   been able to investigate this claim. KST has offered no explanation for why it failed
    11   to produce the alleged back page or why it provided the misleading interrogatory
    12   answers. This forced ES into the untenable position of having to attempt, after the
    13   close of discovery, to prove a negative on an issue where KST bears the burden of
    14   proof. KST should have been forthcoming with this information. It is wholly unjust
    15   for KST to benefit from withholding this information. The tardy disclosure was
    16   highly prejudicial to ES and the Court should not have relied on it to award KST
    17   nearly $1 million in damages.
    18       II.         ES Satisfied its Obligation to Confer with KST.
    19
               As an initial matter, the parties have already briefed the details of their meet-
    20
         and-confer discussions, after which this Court agreed to schedule the argument for
    21
         ES’s Motion on June 3, 2019. The issue therefore appears moot.
    22
               Even if the Court were to revisit the issue, KST’s opposition makes clear that
    23
         its position regarding 18% pre-judgment interest has been set in stone since January
    24

    25

    26   3
           Notably, KST also failed to produce any evidence of the alleged 18% interest rate
    27   (including the alleged “back pages”) in response to ES’s request for all documents
         identified in KST’s answers to ES’s interrogatories. Barnes Decl. Ex. F.
    28

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     1   when the parties first discussed their respective positions. The parties disagreed,
     2   and KST proceeded with its request for an award of 18% pre-judgment interest.
     3   KST has since refused to respond to ES’s multiple invitations to talk, see Barnes
     4   Decl. ¶ 5, preferring instead to make an argument to this Court that exalts form over
     5   substance. Indeed, any response by KST would have reinforced the fact that further
     6   conferral would be futile. KST’s silence once again makes clear that there was no
     7   potential for resolving the issue and no prejudice to KST even if the parties had not
     8   spoken before the filing of the motion (which they had, just as they had spoken on
     9   this same issue months before).
    10         Since January, counsel have discussed the issue multiple times, and KST’s
    11   counsel never wavered from the position that KST was going to seek 18% interest.
    12   See Barnes Decl. ¶ 4 and Ex. G. Indeed, at the March 20 conference, counsel
    13   discussed KST’s intention to seek attorneys’ fees based on the same alleged “back
    14   page” argument it relied on as a basis for the 18% rate, and ES’s counsel disagreed
    15   with KST’s contention. Id.; see also Dkt. 223-1 ¶ 3.
    16         KST devotes multiple pages of its opposition to this issue, but never identifies
    17   any prejudice resulting from the alleged failure—nor could it. KST’s counsel never
    18   indicated before or after ES filed its motion on April 10 that there was any potential
    19   of resolving the interest rate issue. And the briefing schedule set by the Court on
    20   May 7 allowed KST nearly six weeks for a response. See Dkt. 221.4 KST’s
    21   opposition belies the notion that additional conferences between the parties’ counsel,
    22   even if required, could have led to a resolution.
    23

    24   4
          See also Kianpour v. Wells Fargo Bank, N.A., 2018 U.S. Dist. LEXIS 7654, *26
    25   (C.D. Cal. January 16, 2018) (granting motion for summary judgment despite
         plaintiff’s allegation that L.R. 7-3 had not been satisfied, and finding that
    26   “regardless of whether or not the meet-and-confer was originally conducted, any
    27   prejudice to Plaintiff was cured” by a meet and confer later ordered by the court and
         the grant of additional time to file a statement of genuine disputes).
    28

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           III.         CONCLUSION
     1

     2         For the reasons set forth above, the Court should reconsider its decision to
     3   award KST contractual interest at the rate of 18% and should reduce the amount of
     4   pre-judgment interest previously awarded to KST by $932,728.31.
     5

     6   DATED: May 27, 2019                By:    /s/Stephen G. Larson
     7                                             STEPHEN G. LARSON (SBN 145225)
                                                   slarson@larsonobrienlaw.com
     8                                             Larson O’Brien LLP
     9                                             555 South Flower Street, Suite 4400
                                                   Los Angeles, California 90071
    10                                             Telephone: (213) 436-4888
    11                                             Facsimile: (213) 623-2000

    12                                             ATTISON L. BARNES, III (admitted pro hac
    13                                             vice)
                                                   abarnes@wileyrein.com
    14                                             WILEY REIN LLP
    15                                             1776 K Street, NW
                                                   Washington, DC 20006
    16                                             Telephone: (202) 719-7000
    17                                             Facsimile: (202) 719-7049

    18                                             BRIAN C. VANDERHOOF (SBN 248511)
    19                                             Brian.Vanderhoof@leclairryan.com
                                                   LECLAIRRYAN LLP
    20                                             725 S. Figueroa Street, Suite 350
    21                                             Los Angeles, CA 90017
                                                   Telephone: (213) 488-0503
    22                                             Facsimile: (213) 624-3755
    23
                                                   Attorneys for Defendant Enterprise Services
    24                                             LLC
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